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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ROBLOX CORPORATION,,
                                                                  Case No. 23-cv-5346
                         Plaintiff,
                                                                  Judge Thomas M. Durkin
        v.                                                        Magistrate Judge Sunil R. Harjani
 THE INDIVIDUALS, CORPORATIONS, LIMITED
 LIABILITY COMPANIES, PARTNERSHIPS, AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE A HERETO,

                         Defendants.


                               DEFAULT JUDGMENT ORDER

       This action having been commenced by Plaintiff ROBLOX CORPORATION (“Plaintiff”)

against the defendants identified on Amended Schedule A, and using the Defendant Domain

Names and Online Marketplace Accounts identified on Amended Schedule A (collectively, the

“Defendant Internet Stores”), and Plaintiff having moved for entry of Default and Default

Judgment against the defendants identified on Amended Schedule A attached hereto which have

not yet been dismissed from this case (collectively, “Defaulting Defendants”);

       This Court having entered a preliminary injunction; Plaintiff having properly completed

service of process on Defaulting Defendants, the combination of providing notice via electronic

publication and e-mail, along with any notice that Defaulting Defendants received from domain

name registrars and payment processors, being notice reasonably calculated under all

circumstances to apprise Defaulting Defendants of the pendency of the action and affording them

the opportunity to answer and present their objections; and
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       None of the Defaulting Defendants having answered or appeared in any way, and the time

for answering having expired, so that the allegations of the Complaint are uncontroverted and are

deemed admitted;

        This Court finds that it has personal jurisdiction over Defaulting Defendants because

 Defaulting Defendants directly target their business activities toward consumers in the United

 States, including Illinois. Specifically, Plaintiff has provided a basis to conclude that Defaulting

 Defendants have targeted sales to Illinois residents by setting up and operating e-commerce

 stores that target United States consumers using one or more seller aliases, offer shipping to

 the United States, including Illinois, and have sold products using infringing and counterfeit

 versions of Plaintiff’s federally registered trademarks (the “ROBLOX Trademarks”) to

 residents of Illinois. In this case, Plaintiff has presented screenshot evidence that each

 Defendant e-commerce store is reaching out to do business with Illinois residents by operating

 one or more commercial, interactive internet stores through which Illinois residents can and do

 purchase products using counterfeit versions of the Plaintiff Trademarks. See Docket Nos. 12-

 24, which include screenshot evidence confirming that each Defendant e-commerce store does

 stand ready, willing and able to ship its counterfeit goods to customers in Illinois bearing

 infringing and/or counterfeit versions of the ROBLOX Trademarks.

       A list of the ROBLOX Trademarks is included in the below chart.


Registration
                   Registered Trademark               International Classes
Number
5,292,052          POWERING IMAGINATION               9, 35 and 41
5,460,112          BLOXY                              41
6,200,694          ROBLOX                             9, 16 and 25

       This Court further finds that Defaulting Defendants are liable for willful federal trademark

infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin (15 U.S.C.
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§ 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815 ILCS § 510

et seq.).

        Accordingly, this Court orders that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED as follows, that Defaulting Defendants are deemed in default, and that

this Default Judgment is entered against Defaulting Defendants.

        This Court further orders that:

1.      Defaulting Defendants, their officers, agents, servants, employees, attorneys, and all

        persons acting for, with, by, through, under, or in active concert with them be permanently

        enjoined and restrained from:

        a. using the ROBLOX Trademarks or any reproductions, counterfeit copies, or colorable

            imitations in any manner in connection with the distribution, marketing, advertising,

            offering for sale, or sale of any product that is not a genuine ROBLOX product or not

            authorized by Plaintiff to be sold in connection with the ROBLOX Trademarks;

        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

            ROBLOX product or any other product produced by Plaintiff, that is not Plaintiff’s or

            not produced under the authorization, control, or supervision of Plaintiff and approved

            by Plaintiff for sale under the ROBLOX Trademarks;

        c. committing any acts calculated to cause consumers to believe that Defaulting

            Defendants’ products are those sold under the authorization, control, or supervision of

            Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff; and

        d. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

            storing, distributing, returning, or otherwise disposing of, in any manner, products or

            inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or


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           offered for sale, and which bear any of Plaintiff’s trademarks, including the ROBLOX

           Trademarks, or any reproductions, counterfeit copies or colorable imitations.

2.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

        Interest Registry, and the domain name registrars, including, but not limited to, GoDaddy

        Operating Company LLC, Name.com, PDR LTD. d/b/a/ PublicDomainRegistry.com, and

        Namecheap Inc., within seven (7) calendar days of receipt of this Order, shall, at Plaintiff’s

        choosing:

        a. transfer the Defendant Domain Names to Plaintiff’s control, including unlocking and

           changing the registrar of record for the Defendant Domain Names to a registrar of

           Plaintiff’s selection, and the domain name registrars shall take any steps necessary to

           transfer the Defendant Domain Names to a registrar of Plaintiff’s selection; or

        b. disable the Defendant Domain Names and make them inactive and untransferable.

3.      Defaulting Defendants and any third party with actual notice of this Order who is providing

        services for any of the Defaulting Defendants, or in connection with any of the Defaulting

        Defendants’ Online Marketplaces, including, without limitation, any online marketplace

        platforms such as Amazon.com, Artistshot, Printerval, and Teepublic (collectively, the

        “Third Party Providers”), shall within seven (7) calendar days of receipt of this Order cease:

               a. using, linking to, transferring, selling, exercising control over, or otherwise

               owning the Online Marketplace Accounts, or any other online marketplace account

               that is being used to sell or is the means by which Defaulting Defendants could

               continue to sell counterfeit and infringing goods using the ROBLOX Trademarks;

               and


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               b. operating and/or hosting websites that are involved with the distribution,

               marketing, advertising, offering for sale, or sale of any product bearing the

               ROBLOX Trademarks or any reproductions, counterfeit copies or colorable

               imitations thereof that is not a genuine ROBLOX product or not authorized by

               Plaintiff to be sold in connection with the ROBLOX Trademarks.

4.      Upon Plaintiff’s request, those with notice of this Order, including the Third Party

        Providers as defined in Paragraph 4, shall within seven (7) calendar days after receipt of

        such notice, disable and cease displaying any advertisements used by or associated with

        Defaulting Defendants in connection with the sale of counterfeit and infringing goods using

        the ROBLOX Trademarks.

5.      Pursuant to 15 U.S.C. § 1117(c)(2), Plaintiff is awarded statutory damages from each of

        the Defaulting Defendants in the amount of One Hundred Thousand ($100,000) for willful

        use of counterfeit ROBLOX Trademarks on products sold through at least the Defendant

        Internet Stores. This award shall apply to each distinct Defaulting Defendant only once,

        even if they are listed under multiple different aliases in the Complaint and Amended

        Schedule A.

6.      Any Third Party Providers holding funds for Defaulting Defendants, including PayPal, Inc.

        (“PayPal”), Artistshot, Printerval, Teepublic and Amazon Pay, shall, within seven (7)

        calendar days of receipt of this Order, permanently restrain and enjoin any accounts

        connected to Defaulting Defendants or the Defendant Internet Stores from transferring or

        disposing of any funds (up to the statutory damages awarded in Paragraph 6 above) or other

        of Defaulting Defendants’ assets.




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7.       All monies (up to the amount of the statutory damages awarded in Paragraph 6 above)

         currently restrained in Defaulting Defendants’ financial accounts, including monies held

         by Third Party Providers such as PayPal, Artistshot, Printerval, Teepublic and Amazon

         Pay, are hereby released to Plaintiff as partial payment of the above-identified damages,

         and Third Party Providers, including PayPal, and Amazon Pay, are ordered to release to

         Plaintiff the amounts from Defaulting Defendants’ financial accounts within fourteen (14)

         calendar days of receipt of this Order.

8.       Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

         Defendant, Plaintiff shall have the ongoing authority to commence supplemental

         proceedings under Federal Rule of Civil Procedure 69.

9.       In the event that Plaintiff identifies any additional online marketplace accounts or financial

         accounts owned by Defaulting Defendants, Plaintiff may send notice of any supplemental

         proceeding, including a citation to discover assets, to Defaulting Defendants by e-mail at

         the e-mail addresses identified in Exhibit 2 to the Declaration of Christian Bayley and any

         e-mail addresses provided for Defaulting Defendants by third parties.

10.      The Two Hundred Sixty-Two Thousand dollar ($262,000) surety bond posted by Plaintiff

         is hereby released to its counsel, Hughes Socol Piers Resnick & Dym, Ltd. The Clerk of

         the Court is directed to return the surety bond previously deposited with the Clerk of the

         Court via certified mail to Michael A. Hierl of Hughes Socol Piers Resnick & Dym, Ltd.

         at Three First National Plaza, 70 W. Madison Street, Suite 4000, Chicago, IL 60602.




This is a Default Judgment.

Dated: 10/19/2023

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                                   ______________________

                                   Thomas M. Durkin
                                   United States District Judge




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                              Amended Schedule A

         No. Defendant Name / Alias
          1   bummerreplace
          2   geishahungry
          3   GuillerminaZunigalem
          4   Konnagunby
          5   toyou2me0921
          6   WinoStore
          7   xiwytude
          8   Apprehensivehop
          9   Ben Ho
         10   Benjamin White
         11   BilBlack
         12   BraParker
         13   BryonWest
         14   Chris Maket
         15   Christopher Harrison
         16   DaviMackay
         17   Elaine Tan
         18   Eric Price
         19   Gaurav Khurana
         20   Gurtej Singh
         21   Ian Jepson
         22   Ivan Stojanovic
         23   Jackdicken-SHOP
         24   Krystinastoney
         25   La Verne
         26   Layabrendon
         27   Marcia Mccoy
         28   Nitin Singh
         29   Ranjeet Kumar
         30   Sigrideunice
         31   Swati Gupta
         32   Vincentdega
         33   Amandasanchez
         34   Aurhan illustra
         35   brothercloth96
         36   John Vector
         37   Smacks
         38   splinter300
         39   VenusGreen
         40   addielean
         41   AFA DESIGNS
         42   agapemolin
         43   aquinnahmeginnis
         44   bilmem
         45   bordinhs
                                      8
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          46   CahallAleeha
          47   custom-designs
          48   DANISHAEWLETT
          49   elisjodenotol
          50   geovonniceranski
          51   JamestonLee-Yaur
          52   kivala900909
          53   morykoshyki8
          54   Ngalap Barokah
          55   preindimek
          56   sunarkosim
          57   Vanessa Tees
          58   Aerry Direct US
          59   AMZ-U K
          60   BelLanHong
          61   BICXEMY SHOP
          62   BOILING THOUGHT
          63   ChengDuWanXiJiYinDianZiShangWuYouXianGongSi
          64   DANQUANSI
          65   DEHUAYAO
          66   fashion child cloth
          67   FunCake Decoration
          68   Gerbana-EU
          69   GTOTd
          70   HAI YUAN
          71   happyeverparty
          72   HJHl
          73   HuiJL
          74   I33ed9/N
          75   Kesonmall
          76   libolong
          77   lvyongbiao
          78   Mangober
          79   Modou Store
          80   QICIG
          81   Qucuek Plush
          82   RBXSTRAW
          83   rosepartyh
          84   SHENZHEN KBD
          85   TKIDS
          86   Uncle Ryan's
          87   Well-Buy
          88   Wopin-GoodCase
          89   Xinbohui Shop
          90   Yangsiw
          91   zhudongxuu321
          92   ZHULIA
          93   & lifetimTransportation
                                     9
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           94   AhmeIbrahim
           95   Antlionmildrid
           96   Arthur Green
           97   Asa Sharp
           98   Baby Embajadorcoronafundador
           99   Balram Singh
          100   Benjamin Jones
          101   Bharat Bhushan
          102   BREANNA MCDANIEL
          103   Brian Armstrong
          104   Brian Fox
          105   Brian Mason
          106   Bruno D'agostino
          107   Bruno Roman
          108   CAI YING CHEN
          109   Cameron Walker
          110   Carlos Braga
          111   CarolinLopes
          112   CatherinWilson
          113   ChaCooper
          114   Chris Leach
          115   Chris Rowe
          116   ClarJones
          117   Clay Johnson
          118   Clint Sieber
          119   Clumsy
          120   Construction Services llc
          121   Country Animahospital
          122   CustomTrendyShirts
          123   Daniela Pereira
          124   Darren Cox
          125   DaviDay
          126   Deepak Kumar
          127   DenisWilliams
          128   DesmondPhifer
          129   Diephoho Deho
          130   Divyansh Singh
          131   DONALDHINKLE
          132   Doom Doom
          133   Dy Rees
          134   Eastvale
          135   Edwin Lopez
          136   Elaine Williams
          137   Elysia
          138   Emma Scott
          139   Engr md delwar Hoosain saidy
          140   Enrique Gonzalez
          141   Eric Girard
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          142   Eric Long
          143   Erika Guerrero
          144   FahaKhan
          145   FreshImagesByMAC
          146   Fresk Tire
          147   Gabriel Campos
          148   Garcia Florence
          149   Gareth Morris
          150   Gary Chapman
          151   Gary Gao
          152   Gaurav Trivedi
          153   GeneZ
          154   Giang Nguyen
          155   Gift Gift
          156   Gigi Barnhill
          157   Gomez
          158   Govind Jha
          159   Greg Walker
          160   Gustavo Lopes
          161   HanahClinton
          162   HarolPalevsky
          163   Ian Coleman
          164   Ian Lamb
          165   Ibrahim Shehata
          166   Igor Coelho
          167   Irene Tan
          168   Irene Wang
          169   Irfan Mahmood
          170   Irin Patel
          171   Isaac Anthony
          172   Isaias Zamarripa
          173   Ishan Goyal
          174   Ishan Jain
          175   Iskren Zahariev
          176   Islam Gomaa
          177   Ismaldo Matias
          178   Istiak Ahmed
          179   Jacy
          180   Jessica Margetson cfp
          181   Joann Clam Wat Tambor
          182   Justin Lee
          183   Khoa Le
          184   Kim Vantae
          185   Kurt Chang
          186   LADYBUGonCHAMOMILE
          187   Lavender Belarusian
          188   Losa Nostra
          189   LottieShop
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          190   Ludens Tran
          191   Luisa Rivera
          192   Marta Veludo Studio
          193   Nancy Kreisle
          194   NeiDouthat Cpwa
          195   Parkway
          196   PenelopTrunk
          197   PhilippVon Borries
          198   Prewitt
          199   Querulous Bug Anthia
          200   Ramesh Kumar
          201   Redo Bureau
          202   Rishabh Singh
          203   Robert Bickham cima
          204   Robert Green cima crps
          205   Robert Shuftan
          206   San Buenaventura
          207   Sri Konada
          208   SullieKarlson
          209   Sunandmoon12332
          210   Szu-Yu Hou
          211   Taofiq Olarewaju
          212   Thien
          213   TravelThroughMut
          214   TristanG
          215   a2zwh
          216   Abdelghanikh
          218   ATRS
          219   Bee Nice Shop
          220   Bigfinz
          221   BM29Production
          222   chocoberry
          223   CorrieFun1
          224   DaOmelet
          225   Darkoprion
          226   DevilRoseGirl
          227   EmporiumofMadness
          228   FancyShirtman
          229   fanpixers
          231   FoolishMeatloaf
          232   Infinite design
          233   jmon y shirt hous
          234   juniperleaves
          235   keirimma
          236   lisaalicedesigns
          237   mackersonart
          238   MoonlightsCrazyWorld
          239   MrGeo1
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          240   NOXXY
          241   officialMdesign
          242   ololo_design
          243   Owoia's Merch Store
          244   Pirokov Daniel
          245   Quirkyhen
          246   RayanFuns
          247   RCLWOW
          248   Regndroppe
          249   Screwedup Artist
          250   sleekgrid
          252   SmoothNoob
          253   Sno
          254   SuperCartoonist
          255   survival
          256   Tavara.net
          257   Theartge
          258   Theresthisthing
          259   tomochan
          260   ToptierShop
          261   Wild_Wide
          262   yesdesain




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